                               Case 2:20-cv-00966-NR Document 1-1 Filed 06/29/20 Page 1 of 2
                                                                                                                               2:20-cv-966
    JS 44 (Rev. 02/ l 9)                                                CIVIL COVER SHEET
    The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
    provided by local rules of court. This form, approved by the J udicialConference of the UnitedStates in September 1974, is required for the use of the Clerk ofCourt for the
    purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

    I. (a)PLAINTIFFSDonald J. Trump for President, Inc.; Glenn                                         DEFENDANT      �athy Boockvar, Secretary o f theCommonwealth;
    Thompson; Mike Kelly; John Joyce; Guy Reschenthaler; Republican                                   and all 67 County Boards of Election in the Commonwealth
    NationalCommittee; Melanie S. Patterson; C. David Show

                                                            _ _Y_o_r_
       (b) County ofResidence of First Listed Plaintiff _N_ew       k_ _ __ _                         County ofResidence of First Listed Defendant _D_a_u�p_h_i______
                                                                                                                                                               n     _
                            (EXCEPT IN US. PLAINTIFF CASES)                                                                 {IN U.S. PLAINTIFF CASES ONLY)
                                                                                                      NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                              THE TRACT OF LAND INVOLVED.

     (c) Attorni:Y$_/Fir111.Natp_e0Addres.�a1:1dTel!l12.hon{!.,NumberJ "                              Attor.o�ys (IfKnq:,!_'n)
    R0n'a ld L. HICKS, Jr., Je,emy       1-1.. Mercer, t(ussen D . GIancoIa/P orter                  Josh ::;naprro, t-'ennsylvania Office o f Attorney General, Strawberry
    Wright Morris & Arthur LLP, 6 PPG Pl., 3rd Fl., Pgh., PA 15222 /                                 Square, Harrisburg, PA 17120 / 717-787-3391
    412-235-4500


II. BASIS OF JURISDICTION (Place an "X" in One Box Only)                                   III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in one Box/or Plaintiff
                                                                                                    (For Diversity Cases Only)                                    and One Box/or Defendant)
_ I       U.S. Government            :! 3 Federal Question                                                                   PTF   DEF                                          PTF      DEF
            Plaintiff                         (US. Government Not a Party)                    Citizen of This State                          Incorporated or Principal Place         4      4
                                                                                                                                               of Business In This State

_ 2 U.S. Government                  _ 4 Diversity                                            Ci1izen of Another State                   2   Incorporated and Principal Place
      Defendant                            (Indicate Citizenship of Parties in Item Ill)                                                        of Business In Another Slate

                                                                                                                                         3   Foreign Nation                         6

IV NATURE OF SUIT (Place an "X" in 0ne Box Ony_
                                             I�                                                                                    erk
                                                                                                                                    IC here tior: Nature ofS Ult Cd
                                                                                                                                                                  o e Descnpt1ons.
I             CONTRACT                                          TORTS                           FORFEJTTIRE/PENALTY                 BANKRUPTCY                        OTHER STATUTES             I
  I IO Insurance                    PERSONAL INJURY               PERSONAL INJURY          625 Drug Related Seizure         422 Appeal 28 USC 158                 375 False Claims Act
  120 Marine                        310 Airplane               _ 365 Personal Injury •          of Property 21 use 881 _ 423 Withdrawal                         _ 376 Qui Tam (31 USC
  130 Miller Ac!                    315 Airplane Product               Product Liability _ 690 Other                             28 USC 157                            3729(a))
  140 Negotiable Instrument              Liability               367 Health Care/                                                                                 400 State Reapportionment
  150 Recovery of Overpayment _ 320 Assault, Libel &                  Pharmaceutical                                         PRf"\DF.RTV R[r.HT.�                 4 IO Antitrust
       & Enforcement ofJudgment          Slander                      Personal Injury                                       820 Copyrights                        430 Banks and Banking
  151 Medicare Act                _ 330 Federal Employers'            Product Liability                                     830 Patent                            450 Commerce
  152 Recovery of Defaulted              Liability               368 Asbestos Personal                                    _ 835 Patent • Abbreviated              460 Deportation
       Student Loans                340 Matine                         Injury Product                                            New Drug Application             470 Racketeer Influenced and
       (Excludes Veterans)        _ 345 Marine Product                Liability                                             840 Trademark                             Corrupt Organizations
  153 Recovery of Overpayment            Liability              PERSONAL       PROPERTY              LAB   ,u               �,., IA L <:Er'ITJ>TTY                480 Consumer Credit
       of Veteran's Benefits        350 Motor Vehicle            370 Other Fraud         _ 710 Fair Labor Standards         861 HIA (1395ft)                      485 Telephone Consumer
  160 Stockholders' Suits         _ 355 Motor Vehicle            371 Truth in Lending           Act                         862 Black Lung (923)                       Protection Act
  190 Other Contract                    Product Liability      _ 380 Other Personal      _ 720 Labor/Management             863 DIWC/DIWW (405(g))                490 Cable/Sat TV
  I 95 Contract Product Liability   360 Other Personal                Property Damage           Relations                   864 SSID Title XVI                    850 Secutities/Commodities/
_ I 96 Franchise                        Injury                   385 Property Damage       740 Railway Labor Act          _ 865 RSI (405(g))                           Exchange
                                    362 Personal Injury -            Product Liability     751 Family and Medical                                                 890 Other Statutory Actions
                                        Medical Maloractice                                     Leave Act                                                         891 Agricultural Acts
       REAL PROPERTY                  CIVIL RIGHTS              PRISONER PETITIONS         790 Other Labor Litigation       FEDERAL TAX SUITS                     893 Environmental Matters
  210 Land Condemnation           ✓ 440 Other Civil Rights       Habeas Corpus:          _ 791 Employee Retirement          870 Taxes (U.S. Plaintiff             895 Freedom of Information
  220 Foreclosure                   441 Voting                   463 Alien Detainee            Income Security Act               or Defendant)                         Act
  230 Rent Lease & Ejectment        442 Employment               5 IO Motions to Vacate                                     871 IRS-Third Party                   896 Arbitration
  240 Torts to Land                 443 Housing/                      Sentence                                                   26 USC 7609                      899 Administrative Procedure
  245 Tort Product Liability            Accommodations           530 General                                                                                          Act/Review or Appeal of
  290 All Other Real Property       445 Amer. w/Disabilities •   535 Death Penalty              IMMIGRATION                                                           Agency Decision
                                        Employment               Other:                    462 Naturalization Application                                         950 Constitutionality of
                                    446 Amer. w/Disabilities -   540 Mandamus & Other      465 Other Immigration                                                       State Statutes
                                        Other                    550 Civil Rights              Actions
                                    448 Education                555 Ptison Condition
                                                                 560 Civil Detainee •
                                                                      Conditions of
                                                                      Confinement
V. 0RIG IN (Place an "X" in One Box Only)
✓ I Original        2 Removed from                          3 Remanded from                 4 Reinstated or         5 Transferred from        6 Multidistrict 8 Multidistrict
          Proceeding           StateCourt                        AppellateCourt               Reopened                       Another District   Litigation -    Litigation -
                                                                                                                             {specify)          Transfer        DirectFile
                           Cite the U.S.CivilStatute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                               42 u.s_ . c._ 19_ 83 ·_C_i v_ i _l a_ c_tio _ _ fo_r _ d_e.,_
                                                                         _ n              p r_ iv_ a_ti_o n
                                                                                                          _ _o_f -'rig hts
                                                                                                                     =<- _ _____________________
VI.       CAUSE OF ACTION t---Brief,....,... description
                                              ,... ....,. ,...  -: ,....
                                                               of cause:
                               Action for Injunction and Declaratory Relief re: federal and state constitutional violations in 2020 federal election
VII. REQUESTED IN                           CHECK IFTHIS IS A CLASS ACTION                      DEMAND$                                  CHECK YES only if demanded in complaint
     COMPLAINT:                             UNDERRULE23,F.RC  . v.P.                                                                     JURYDEMAND:                 O Yes      �No
VIII. RELATED CASE(S)
                                          (See instructions):
      IF ANY                                                      J UDGE      _      ______                      _ _ _
                                                                                                                     _ DOCKET NUMBER
DATE                                                                SIGNATURE OF ATTORNEY OF RECORD
06/29/2020                                                          /s/ Ronald L. Hicks, Jr.
FOR OFFICE USE ONLY

      RECEIPT#                  AMOUNT                                   APPL YING IFP                              JUDGE                          MAG.JUDGE
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                                      JS 44A REVISED June, 2009
            IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF PENNSYLVANIA
                           THIS CASE DESIGNATION SHEET MUST BE COMPLETED

PART A
     This case belongs on the (        Erie        Johnstown            Pittsburgh) calendar.
1. ERIE CALENDAR - If cause of action arose in the counties of Crawford, Elk, Erie,
    Forest, McKean. Venang or Warren, OR any plaintiff or defendant resides in one of said
    counties.
2. JOF~iSTOWN CALENDAR - If cause of action arose in the counties of Bedford, Blair,
    Cambria, Clearfield or Somerset OR any plaintiff or defendant resides in one of
    said counties.

3. Complete if on ERIE CALENDAR: I certify that the cause of action arose in
    County and that the                      resides in                   County.

4. Complete if on JOFII~STOFTN CALENDAR: I certify that the cause of action arose in
                      County and that the             resides in                   County.


PART 8 (You are to check ONE of the following)
1.         This case is related to Number                      Short Caption
2. ~       This case is not related to a pending or terniinated case.

DEFINITIONS OF RELATED CASES:
CIVIL: Civil cases are deemed related when a case filed relates to property included in
another suit or involves the same issues of fact or it grows out of the same transactions
as another suit or involves the validity or infringement of a patent involved in another
suit EMINENT DOMAIN: Cases in contiguous closely located groups and in common ownership
groups which will lend themselves to consolidation for trial shall be deemed related.
HABEAS CORPUS &CIVIL RIGHTS: All habeas corpus petitions filed by the same individual
shall be deemed related. All pro se Civil Rights actions by the same individual shall be
deemed related.

PARTC
I. CIVIL CATEGORY (Select the applicable category).
   1.     Antitrust and Securities Act Cases
   2.     Labor-Management Relations
   3.     Habeas corpus
   4. ~   Civil Rights
   5.     Patent, Copyright, and Trademark
     6.       Eminent Domain
     7.       All other federal question cases
     8.        All personal and property damage tort cases, including maritime, FELA,
              Jones Act, Motor vehicle, products liability, assault, defamation, malicious
               prosecution, and false arrest
     9.        Insurance indemnity, contract and other diversity cases.
     10.       Government Collection Cases (shall include HEW Student Loans (Education),
                    V A   Overpayment, Overpayment of Social Security, Enlistment
                    Overpayment (Army, Navy, etc.),    HUD Loans, GAO Loans (Misc. Types),
                    Mortgage Foreclosures, SBA Loans, Civil Penalties and Coal Mine
                    Penalty and Reclamation Fees.)




     I certify that to the best of my knowledge the entries on this Case Designation
     Sheet are true and correct
                                            /s/ Ronald L. Hicks, Jr.
     Date: June 29, 2020
                                                                   ATTORNEY AT LAW

NOTE: ALL SECTIONS OF BOTH FORMS MUST BE COMPLETED BEFORE CASE CAN BE PROCESSED.
